          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                        CRIMINAL NO. 3:06CR415


UNITED STATES OF AMERICA                 )
                                         )
                                         )
                 VS.                     )           ORDER
                                         )
                                         )
TAMARA VARNADO                           )
                                         )


     THIS MATTER is before the Court on Defendant’s motion for

continued release pending appeal; the Government opposes the relief

sought. For the reasons that follow, Defendant’s motion is denied.



                              I. BACKGROUND

     Defendants Tamara Varnado and Paul Osuji were charged in a

superseding indictment with 18 counts relating to a scheme to defraud the

Government’s Medicare program and other private health care agencies.

See Superseding Indictment, filed May 30, 2007. Count One charged

the Defendants with conspiracy to defraud the Government in connection

with the delivery and payment of health care benefits or services, in




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violation of 18 U.S.C. §§ 1347 and 1349, committed “within Mecklenburg

County, in the Western District of North Carolina, and elsewhere.” Id. at 9.

Counts Two through Ten charged Defendants with defrauding health care

programs in violation of 18 U.S.C. § 1347, “in Mecklenburg County, within

the Western District of North Carolina, and elsewhere.” Id. at 10-11. Count

Eleven charged Defendants with a money laundering conspiracy in

violation of 18 U.S.C. § 1956(h), committed “in Mecklenburg County, within

the Western District of North Carolina and elsewhere.” Id. at 12. Counts

Twelve through Eighteen charged promotion of money laundering in

violation of 18 U.S.C. § 1956, committed “in Mecklenburg County, within

the Western District of North Carolina, and elsewhere.” Id. at 13-14.

     Defendants were brought to trial on the superseding indictment

January 7-11, 2008, and January 14-15, 2008. The jury returned a verdict

finding Defendants guilty on all counts alleged in the superseding

indictment. See Jury Verdict as to Paul Osuji, filed January 15, 2008;

Jury Verdict as to Tamara Varnado, filed January 15, 2008. Defendant

Varnado filed a motion for a new trial and for judgment of acquittal on




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January 25, 2008.1 Counsel for Varnado, after obtaining the trial

transcripts, filed briefs supporting the motion for a new trial and judgment

of acquittal. See Brief in Support of Motion for New Trial and Brief in

Support of Motion for Judgment of Acquittal, filed July 9, 2008. The

Government responded in opposition on August 7, 2008. The undersigned

denied Varnado’s motions. See Memorandum and Order, filed October

24, 2008. The Court made extensive factual findings in the Memorandum

and Order in deciding the motions and such findings are fully incorporated

herein.

      On November 20, 2008, Defendant Varnado was sentenced to a

term of 63 months imprisonment. See Judgment in a Criminal Case,

filed December 4, 2008. Varnado was allowed to remain on bond pending

notification from the United States Marshal of her reporting date to begin

service of her sentence. Order Setting Conditions of Release,

November 20, 2008. Varnado filed notice of appeal from the judgment on

December 8, 2008. On December 22, 2008, Varnado filed the instant

motion for bond and continued release pending the resolution of her



      1
     Defendant Paul Osuji did not file a motion for a new trial or for
judgment of acquittal.


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appeal by the Fourth Circuit. In her motion, Varnado reports that she has

received notice to report to the Federal Prison Camp at Bryant, Texas, by

noon on January 14, 2009. Motion for Continued Release Pending

Appeal, at 3. The Government responded opposing Defendant’s motion

on January 7, 2009, and this matter is now ready for resolution.



                              II. DISCUSSION

      Defendant Varnado contends that she should be released pending

appeal under 18 U.S.C. § 3143(b) because, inter alia, her “appeal raises

substantial questions of law.” Id. This statute provides in relevant part:

      (b) Release or detention pending appeal by the defendant.–
      (1) Except as provided in paragraph (2), the judicial officer shall
      order that a person who has been found guilty of an offense
      and sentenced to a term of imprisonment, and who has filed an
      appeal or a petition for a writ of certiorari, be detained, unless
      the judicial officer finds–
                   (A) by clear and convincing evidence that the
            person is not likely to flee or pose a danger to the
            safety of any other person or the community if
            released under section 3142(b) or (c) of [18 U.S.C.];
            and
                   (B) that the appeal is not for the purpose of
            delay and raises a substantial question of law or
            fact likely to result in–
                          (i) reversal,
                          (ii) an order for a new trial,
                          (iii) a sentence that does not
                   include a term of imprisonment, or


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                        (iv) a reduced sentence to a term
                  of imprisonment less than the total of
                  the time already served plus the
                  expected duration of the appeal
                  process.

      If the judicial officer makes such findings, such judicial officer
      shall order the release of the person in accordance with section
      3142(b) or (c) of [18 U.S.C.], except that in the circumstance
      described in subparagraph (B)(iv) of this paragraph, the judicial
      officer shall order the detention terminated at the expiration of
      the likely reduced sentence.

18 U.S.C. § 3143(b)(1)(A) and (B).

      In examining § 3143(b)(1)(A), the Court finds that Varnado was on

pretrial release without incident following her arrest until the date of

sentencing on November 20, 2008. As noted herein, Varnado has been on

release pending her notification of the date to self-surrender and there is

no evidence before the Court to show that she has failed to comply with

any of the terms and conditions of her release order. See Order Setting

Conditions of Release, supra. Therefore, the Court finds that Varnado

does not appear likely to flee or pose a danger to the safety of any other

person or the community if released under this provision.

      Next, the Court must consider whether the appeal is made for the

purpose of delay and whether the Defendant has raised substantial

questions of law or fact that are likely to result in (1) reversal; (2) an order


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for a new trial; (3) a sentence that does not impose a term of

imprisonment; or (4) a reduced term of imprisonment that is less than that

the likely time involved in the resolution of the appeal. 18 U.S.C. §

3143(b)(1)(B). The Court concludes that the appeal is not made for the

purpose of delaying the imposition of the active sentence of imprisonment.

Defendant’s counsel has made a number of arguments in support of

release, and although the Court ultimately rejects these arguments, the

undersigned does not conclude that the arguments were made simply for

the purpose of delay.

      Defendant advances four arguments in favor of release pending

appeal. First, Defendant argues for release pending appeal because this

Court’s interpretation of the Supreme Court’s decision in Santos represents

a substantial question of law. Defendant’s Motion, supra, at 5; see

United States v . Santos, 128 S. Ct. 2020 (2008). This issue was

addressed in the Court’s Memorandum and Order denying Defendant’s

motion for judgment of acquittal. On this issue the undersigned found that:

            No matter how the “receipt” versus “profit” question is
      ultimately resolved in light of the plurality opinion, Santos did
      nothing to undermine the notion that a “profit” is a “profit” under
      the federal money laundering statute. In the present case, the
      undersigned concludes that the monies paid to Varnado were
      indeed “profits” as contemplated by the profit sharing


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      agreement as discussed by Yellowe and Osuji. Defendant
      Varnado was charged and convicted of money laundering and
      conspiracy in connection with health care fraud committed
      against Medicare. The evidence at trial showed that she was
      the registered owner of Medisource, the sole signatory to the
      company’s bank account, and that she agreed to a “profit
      sharing” agreement with Yellowe and Osuji. Yellowe’s
      testimony makes clear that the agreement provided that any
      profit was to be distributed equally only after equipment costs,
      investment fees paid to Dr. Morgan, delivery costs, taxes for
      Chimatex’s office and billing fees were deducted from the
      money reimbursed by Medicare. Tr. Vol. III, supra, at 611-23.
      In conclusion, the agreement to which the jury found Varnado
      to be a party, contemplated payment, that is, profit distribution,
      only after all expenses of the operation were paid. Accordingly,
      this argument is overruled.

Memorandum and Order, supra, at 16-17. Again, the Court concludes

that Defendant’s reliance on Santos is misplaced and does not present a

substantial question of law.

      Next, Defendant argues that this Court’s denial of Defendant’s

challenges to venue raises both a Constitutional and substantial question

of law. The undersigned has previously addressed these same arguments

and Defendant has brought forth no additional reason why the Court

should revisit the prior ruling on venue. Therefore, the Court again denies

Defendant’s challenges to venue. See id. at 17-18.

      Defendant also renews her argument that the Court’s inclusion of the

words “Statute Violated” in the heading of the jury instructions “[v]itiated


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Varnado’s [p]resumption of [i]nnocence.” Motion for Release Pending

Appeal, at 7. Having considered Defendant’s renewed argument on this

issue, the Court finds no reason to depart from the reasoning set forth in

the Memorandum and Order denying Defendant’s motion on this issue.

See Memorandum and Order, at 10-11. Therefore, the Court again

denies Defendant’s challenge to the jury instructions and concludes that

Defendant has not presented a substantial question of law.

      Defendant’s final argument contends that her sentencing range was

improperly increased based on an unproven loss amount in violation of

Federal Rule of Criminal Procedure 32. Motion for Release Pending

Appeal, at 7. Defendant does not discuss how any alleged error in

calculation of loss amount could affect her 63-month sentence. The Court

has considered evidence presented at trial and during the sentencing

hearing on this issue and finds that such does not present a substantial

question of law that could satisfy the provisions of § 3143(b)(1)(B)(i)-(iv).

Accordingly, Defendant’s argument is overruled.




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                              III. ORDER

     IT IS, THEREFORE, ORDERED that Defendant’s motion for release

pending appeal is DENIED.

                                   Signed: January 12, 2009




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